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UN ITED STATES D ISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

 

IN RE BROILER CHICKEN ANTITRUST Case No. 1:16-cv-08637
LITIGATION

[PROPOSED ORDER REGARD ING
This Document Relates To: NOT ICE OF VOLUNTARY D ISM ISSAL

; W ITHOUT PRE JUD ICE (ChefM are)
All Commercial and Institutional Indirect

Purchaser Plaintiff Actions

 

 

Based on the Commercial and Institutional Indirect Purchaser Plaintiff (“CIIPPs”) Notice
of Voluntary Dismissal without Prejudice, filed in the above-caption action,

IT ISHEREBY ORDERED that:

WeLoveCaesar LLC dba Chef Marc’s Trattoria, is voluntarily dismissed without

prejudice, as to its individual claims and of withdrawal as named Plaintiff for the CIIPP class.

2 ph

HON. THOMAS M.'DURKIN
U.S. DISTRICT JUDGE

 
